
The declaration in this case was as follows : — ‘ ‘Loudoun County, to wit: Robert Boggess complains of Henley Boggess, in custody, &amp;c., of a plea for this that plaintiff was, on the day of , in the year 1814, at the County aforesaid, entitled to, and possessed of, negro slaves, Lett of the price and value of $500, Jane of, the price and value of $500, &amp;c., as of his proper goods and chattels; and, being so entitled, said slaves of the price and value aforesaid, came to the possession of defendant afterwards, to wit, on the day of in the year , at the County aforesaid; yet the defendant, not ignorant of the premises, the said slaves, of the price and value aforesaid, refused to deliver up to plaintiff, tho’ required so to do, but the same detains, to the damage of the plaintiff $2000; therefore he brings suit.”
The plea was non detinet, upon which a general verdict was found for the plaintiff in the usual form.
The defendant prayed that judgment be arrested, 1st, because the declaration did not demand the slaves for which the Jury had given their verdict; 2dly, because the declaration and proceedings thereon were wholly erroneous, *illegal, and insufficient to enable the Court to render a judgment in favour of the plaintiff.
The Court, nevertheless, overruled these objections, and entered judgment according to the verdict; whereupon the defendant appealed to this Court, by which that judgment was affirmed.
